
343 S.W.3d 318 (2011)
In the Interest of L.A.M., JR., J.L.L., W.H., J.M.L. and A.A.L., Children.
Nos. 10-10-00452-CV, 10-10-00453-CV, 10-10-00454-CV.
Court of Appeals of Texas, Waco.
July 6, 2011.
Gael Plauche Harrison, Navasota, for Relator.
Cynthia A. Morales, Texas Dept. of Family and Protective Services, Austin, for Respondent.
Patricia Orozco Hardy, John R. Bankhead, D. Wes Hammit, Madisonville, for Ad Litem.
Before Chief Justice GRAY, Justice DAVIS, and Justice SCOGGINS.

ORDER
PER CURIAM.
Maurice L. is the biological father of J.M.L. and was also the permanent managing conservator of L.A.M., Jr., J.L.L., W.H., and A.A.L. The Texas Department of Family and Protective Services filed three suits for protection of the children, and the cases were tried to one jury. Based upon the jury verdict, the trial court entered a final order terminating Maurice's parental rights to J.M.L. and naming the Department as permanent managing conservator of all the children.[1]
Maurice filed a motion for new trial and a statement of points or issues to be presented on appeal as required by TEX. FAM. CODE ANN. § 263.405(b) (West 2008). The trial court held a hearing and found each point to be frivolous. The trial court did not allow Maurice a copy of the complete reporter's record.
In each cause number, Maurice argues in his third issue that he is entitled to a full record on appeal based upon his claim of ineffective assistance of counsel. Maurice raised his ineffective assistance claim in his statement of points on appeal. An indigent parent is entitled to a full record on appeal when raising an ineffective assistance of counsel claim, even when the claim is not raised in the statement of appellate points. See In re B.G., 317 S.W.3d 250 (Tex.2010). A claim of ineffective assistance cannot be adequately presented in the absence of a full record and an indigent parent would be denied due process without a full reporter's record. See In re B.G., 317 S.W.3d at 256-7. We sustain Maurice's third issue on appeal. We need not address Maurice's remaining issues on appeal. TEX.R.APP. P. 47.1.
We order the court reporter in this case to prepare a full record from the trial, and we further order the parties to proceed to file new briefs once the record is filed.
NOTES
[1]  Maurice is the only party to this appeal.

